Amy A. Lombardo, ISB No. 8646
Alexandra L. Hodson, ISB No. 10631
PARSONS BEHLE & LATIMER
800 W. Main Street, Suite 1300
Boise, ID 83702
Telephone: (208) 562-4900
Facsimile: (208) 562-4901
Email: ALombardo@parsonsbehle.com
        AHodson@parsonsehle.com

Attorneys for Plaintiffs


                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO

 DENA MORENO, an individual; ROBERT
 THOMAS, an individual; and NICHOLAS                 Case No. 1:20-cv-00242-BLW
 JONES FOR CONGRESS,
                                                     AMENDED PETITION/MOTION FOR
                           Plaintiffs,               TEMPORARY RESTRAINING ORDER
                                                     AND EMERGENCY INJUNCTIVE
 v.                                                  RELIEF
 IDAHO SECRETARY OF STATE; and                             Oral argument requested.
 LAWERENCE DENNEY, in his official
 capacity as secretary of state,

                           Defendants.



       Plaintiffs, Dena Moreno, Robert Thomas, and Nicholas Jones for Congress, by and through

counsel of record, and pursuant to Rule 65 of the Federal Rules of Civil Procedure (FRCP), file

this emergency action to obtain a temporary restraining order and immediate injunctive relief, and

move this Court for entry of an Order Granting Petition/Motion for Temporary Restraining Order

and Emergency Injunctive Relief, ordering Defendants as follows:

       1.      To take such steps as are necessary to ensure that Idaho voters have access to

request and receive absentee ballots until 8:00pm on Tuesday, May 26, 2020; and




                                                1
       2.      To provide public notice of these extended voting opportunities by notifying all

local media of the extension and by posting notices of the extension on the Secretary of State’s

website and at its Office.

       This motion is made on the grounds and reasons set forth in the accompanying Declarations

of Matt Braynard, Dena Moreno, and Robert Thomas, and Memorandum in Support of Amended

Petition/Motion for Temporary Restraining Order and Emergency Injunctive Relief.

       Pursuant to FRCP 65, Plaintiff made efforts to give notice of its request for a temporary

restraining order by sending copies of the court filings in this matter to elections@sos.idaho.gov

on Tuesday May 19, 2020, and by delivering copies of filings to the Idaho Secretary of State’s

Office as well as by email to Jason.Hancock@sos.idaho.gov.

       In support, Plaintiffs allege as follows:

                                   I. NATURE OF ACTION

       All voting for Idaho’s 2020 Primary election is by absentee ballot only as a result of health

concerns due to COVID-19. Over the last two months, Defendants have encouraged voters to

request absentee ballots through the Secretary of State’s (“SOS”) online portal. However, the

online portal has had a difficult time processing all ballot requests due to tremendous demand.

       On Tuesday, May 19, 2020—the date of the deadline to request absentee ballots—Plaintiff

was flooded with requests for help from voters who were unable to request an absentee ballot

through the online portal. Many voters received error messages from the website, which was

overloaded with requests.

       Unless the deadline to obtain an absentee ballot is extended to 8pm on Tuesday, May 26,

2020, and unless Defendants are required to expend additional resources notifying voters of the

additional time to request an absentee ballot, qualified electors will be deprived of a meaningful




                                                   2
opportunity to exercise their right to vote under the First and Fourteenth Amendments to the United

States Constitution, and under the Idaho Constitution Art. 1, §§ 1, 2, 19. The extension provides

adequate opportunity to those seeking to exercise the right to vote in this Primary election

otherwise denied to them by the Defendants’ actions.

                               II.     JURISDICTION AND VENUE

       This is an action pursuant to 42 U.S.C. § 1983, the First and Fourteenth Amendments to

the United State Constitution, and Idaho Constitution Art. 1 §§ 1, 2, 19. This Court has jurisdiction

over this action pursuant to 28 U.S.C. §§ 1331, 1343, and 1367.

       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to the claim occurred in this judicial district.

                                          III.   PARTIES

       1.      Plaintiff Nicholas Jones for Congress is a Principal Political Campaign Committee

under 52 U.S.C. § 30102, with its main office in Ada County, Idaho. On Tuesday, May 19, 2020,

Plaintiff Nicholas Jones for Congress called approximately one hundred and thirty-four voter

households and attempted to walk voters through requesting an absentee ballot via the SOS’s

website. In almost every case, the website failed to load, generated an error message, did not

respond, or warned that a voter’s information was incorrect despite repeated verification. Plaintiff

was forced to expend time and other resources due to the online absentee ballot request tool

malfunctioning and then crashing. Plaintiff’s staff and volunteers were inundated with questions

from Idaho residents seeking help with requesting a ballot due to the website’s failure. If the ballot

request deadline is not extended, Plaintiff Nicholas Jones for Congress will be prevented from

continuing to help people obtain a ballot for the 2020 Primary election, and its supporters who

were unable to obtain a ballot due to the website’s failure will be unable to vote.




                                                  3
       2.      Plaintiff Dena Moreno is a resident of Sandpoint, Idaho. Ms. Moreno is a voter in

the First Congressional District of Idaho. On May 19th, Plaintiff Nicholas Jones for Congress

asked Ms. Moreno if she needed assistance requesting an absentee ballot, and she said she would

appreciate their help. Late that afternoon, the campaign’s manager, Matt Braynard, called Ms.

Moreno to attempt to walk her through the process of requesting her ballot. Unfortunately, despite

repeated attempts, the Secretary of State’s absentee ballot request page failed to load or respond

to the submission of her request.

       3.      Plaintiff Robert Thomas is a resident of Boise, Idaho. Between May 17 and May

19, 2020, he made repeated attempts to request an absentee ballot through the Idaho Secretary of

State website. Every time he visited the site and attempted to enter his information, the website

crashed and was non-responsive. Due to this persistent problem, he was not able to request his

absentee ballot by the May 19, 8 PM deadline.

       4.      Defendant Lawerence Denney (“Defendant Denney”) is the Secretary of State for

the state of Idaho and is joined in his official capacity as a party to this action. Under Idaho law,

I.C. § 34-201, Defendant Denney is the chief election officer of the state and is responsible for

obtaining and maintaining “uniformity in the application, operation and interpretation of the

election laws,” including with respect to the 2020 Primary election.

                                IV. STATEMENT OF FACTS

       5.      The right to vote in an election is guaranteed by, inter alia, the First and Fourteenth

Amendments to the United States Constitution and 52 U.S.C. § 10101 (formerly cited as 42 U.S.C.




                                                 4
§ 1971), as well as Idaho Constitution Art. 1, §§ 1, 2, 19. Plaintiffs have standing to enforce these

rights and all rights asserted herein.

        6.      On Monday, May 18, 2020, Defendant Denney appeared on the Nate Shelman

Show and emphasized that voters may request their absentee ballots through the SOS website until

8 PM the following day, Tuesday, May 19, 2020 (the deadline to request a ballot). He also

indicated that no ballot requests would be accepted if not requested online or submitted to the

county clerk by 8 PM.

        7.      On Tuesday, May 19, 2020, the deadline to request an absentee ballot, the SOS

website failed, likely due to a tremendous volume of requests. The SOS recognized the problems

with the website and posted a notice to electors, stating: “We are currently processing a high

amount of online requests. Unfortunately, this amount of traffic is putting some strain on our

system. . . . If you receive an error using the online system, please be patient and try again later,

or use the paper form option if you have a printer available. . . .”

        8.      Also on Tuesday, May 19, 2020, Chief Deputy Secretary of State Chad Houck told

the Idaho Statesman that the SOS’s office knew that the SOS website would not be able to handle

an enormous flood of absentee ballot requests, which is why the SOS started a campaign to

encourage voters to request absentee ballots 45-days earlier. Nonetheless, Mr. Houck indicated

that the SOS did not have plans to extend the deadline to request a ballot.

        9.      In addition, on Tuesday, May 19, 2020, Plaintiff called approximately one hundred

and thirty-four voter households and attempted to walk voters through requesting an absentee

ballot via the SOS’s website. In almost every case, the website failed to load, generated an error

message, did not respond, or warned that a voter’s information was incorrect despite repeated

verification. As a result, at around 11:25 AM that day, the campaign manager for Mr. Nicholas




                                                  5
Jones, Matt Braynard, called the SOS and spoke to the receptionist for the Elections Division, who

indicated that the SOS was aware of the problems with the website.

        10.     Issues with the website continued through the day.

        11.     Although some counties, such as Ada County, appear to have prepared for the SOS

website failure and offered voters the ability to submit absentee ballot requests until 8pm by

driving to a location and requesting a ballot in person, such measures may not have been state-

wide and do not adequately provide access to a ballot for many voters, especially those with health

concerns who were relying on the SOS website to obtain their ballot. Further, just two hours before

the ballot request deadline, the Ada County Elections office, through Twitter, encouraged voters

to download the request form, print it, sign it, take a picture of it or scan it, and then email it back

to them. However, even if voters saw that information, it outlined an onerous process that they

were not likely willing or able to complete just before the ballot request deadline.

        12.     The failure of the website to function properly in the days leading up to the deadline

to request an absentee ballot caused voters in Idaho to miss their opportunity to vote in the 2020

Primary election.

        13.     The above-referenced conduct of Defendants violated the fundamental right to vote

inherent in the United States Constitution, 52 U.S.C. § 10101, 42 U.S.C. § 1983, and Idaho

Constitution Art. 1 §§ 1, 2, 19. These violations have caused Plaintiffs irreparable harm and will

continue to do so absent an injunction.

        14.     Relief of the type sought herein to address the irreparable harm to citizens voting

in primary elections has been issued in other States where similar actions and circumstances

threaten or in fact do interfere with the right and ability of voters to cast their ballot.




                                                    6
                                    V. CAUSES OF ACTION

                  Count 1: 42 U.S.C. § 1983, First and Fourteenth Amendments

          15.    Plaintiffs incorporate the previous paragraphs of this Petition as if fully set forth

herein.

          16.    The conduct and circumstances alleged herein is depriving Plaintiffs of their rights

with respect to voting as guaranteed by the First and Fourteenth Amendments to the United States

Constitution and 52 U.S.C. § 10101.

          17.    Absent emergency injunctive relief, Plaintiffs will suffer irreparable harm.

Plaintiffs have no adequate remedy at law.

                                  Count 2: Idaho Constitution Article 1

          18.    Plaintiffs incorporate the previous paragraphs of this Petition as if fully set forth

herein.

          19.    The conduct and circumstances alleged herein violate Idaho’s Constitution Art. 1,

§§ 1, 2, 19 by depriving Idaho qualified electors of a meaningful opportunity to exercise their right

to vote in the 2020 Primary election.

          20.    Absent emergency injunctive relief, Plaintiffs will suffer irreparable harm.

Plaintiffs have no adequate remedy at law.

                                   VI. PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray that this Court: 1. Enter an emergency temporary restraining

order and issue an immediate injunction: a. Ordering Defendants to take such steps as are necessary

to extend the deadline to request an absentee ballot to vote in the 2020 Primary election to Tuesday,

May 26, 2020; and b. Ordering Defendants to provide public notice of these extended voting




                                                   7
opportunities by notifying all local media of the extension and by posting notices of the extension

on its website and at its office(s); and 2. Granting Plaintiffs such other relief as justice may require.



         DATED THIS 20th day of May, 2020.

                                                 PARSONS BEHLE & LATIMER




                                                 By: /s/ Amy A. Lombardo
                                                     Amy A. Lombardo
                                                     Attorney for Plaintiffs




                                                   8
                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 20th day of May, 2020, a true and correct copy of the
within and foregoing instrument was served upon:



 Idaho Secretary of State                        U.S. Mail
 Elections and Administration                    Facsimile
 700 W. Jefferson Street, Room E205              Hand Delivery
 Boise, ID 83702                                 Overnight Delivery
                                                 Email Jason.Hancock@sos.idaho.gov



 Lawerence Denney, Secretary of State            U.S. Mail
 Idaho Secretary of State                        Facsimile
 Elections and Administration                    Hand Delivery
 700 W. Jefferson Street, Room E205              Overnight Delivery
 Boise, ID 83702                                 Email Jason.Hancock@sos.idaho.gov




                                         /s/ Amy A. Lombardo
                                         Amy A. Lombardo




                                           9
